Case 3:23-cv-01742-AR   Document 33-2   Filed 10/17/24   Page 1 of 12




              EXHIBIT $
     Case 3:23-cv-01742-AR           Document 33-2        Filed 10/17/24      Page 2 of 12


                                                                  621 SW Morrison St., Ste. 1100
                                                                  Portland, OR 97205
                                                                  1.503.224.7529 | krdglaw.com



December 1, 2023



Via FedEx

YouTube, Inc., Attn Legal Support
901 Cherry Ave., Second Floor
San Bruno, CA 94066

Re: Court Order in District of Oregon Case No. 3:23-cv-01742-AR; KRDG File KJD609

To Whom It May Concern:

I am plaintiff’s counsel in Case No. 3:23-cv-01742-AR in the United States District Court for the
District of Oregon, Future Motion, Inc. v. Tony Lai d/b/a Floatwheel. I have enclosed a copy of
the Court’s Temporary Restraining Order dated December 15, 2023 (Dkt. No. 9). The highlighted
portion at Page 7 of the order states that YouTube “must promptly upon receipt of a copy of this
Order disable public access to all instructional videos teaching viewers how to make and/or use
a product that infringes Future Motion’s patents, including but not limited to the following videos
currently hosted at the YouTube channel https://www.youtube.com/floatwheel . . .” Pages 7-10 of
the order include a list of 43 videos, including their titles and URLs, that must be disabled.

Please comply with the attached order and promptly disable the 43 videos listed in the attached
order and hosted at https://www.youtube.com/floatwheel. The order further states that YouTube
must provide notice of compliance with the order to Future Motion’s counsel within five (5)
business days of receipt of the order. You may provide such notice of compliance by email to me
at shawn@krdglaw.com.

If you have any questions, I can be contacted by email or phone.

Sincerely,




Shawn Kolitch
Counsel for Future Motion, Inc.
Email: shawn@krdglaw.com
Phone: 503.224.7529




Kolitch Romano Dascenzo Gates LLC                                  Intellectual Property Attorneys

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                                                                 621 SW Morrison St., Ste. 1100
                                                                 Portland, OR 97205
                                                                 1.503.224.7529 | krdglaw.com



January 2, 2024

Via Federal Express

Google LLC
c/o Corporation Service Company
2710 Gateway Oaks Drive, Suite 150N
Sacramento, CA 95833-3505

Cc:

Google LLC
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

Re:    Court Order in District of Oregon Case No. 3:23-cv-01742-AR

To Whom It May Concern:

Attached is a preliminary injunction order in the matter of Future Motion, Inc. v. Tony Lai d/b/a
Floatwheel, Case No. 3:23-cv-01742-AR pending in the United States District Court for the District
of Oregon. I draw your attention to the highlighted portion of Paragraph 6 DW SDJH , which
requires Google to disable the channel https://www.youtube.com/floatwheel, or alternatively
to disable the 48 individual videos listed after SDJH.

The order further requires Google to provide notice of compliance to Future Motion’s counsel
within five (5) business days of receipt of the order. You may provide the required notice by email
to me at shawn@krdglaw.com.

Thank you for your cooperation in this matter, and please contact me or have your counsel contact
me immediately with any questions.

Sincerely,




Shawn Kolitch
Counsel for Future Motion, Inc.
shawn@krdglaw.com
503-994-1650




Kolitch Romano Dascenzo Gates LLC                                  Intellectual Property Attorneys

                                   Kolitch Decl. Ex. A, Page 2
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                                                                  621 SW Morrison St., Ste. 1100
                                                                  Portland, OR 97205
                                                                  1.503.224.7529 | krdglaw.com



June 20, 2024

Via Federal Express

Google LLC
c/o Corporation Service Company
2710 Gateway Oaks Drive, Suite 150N
Sacramento, CA 95833-3505

Cc:

Google LLC
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

Re:        Court Order in District of Oregon Case No. 3:23-cv-01742-AR

To Whom It May Concern:

Attached is a preliminary injunction order dated June 20, 2024 in the matter of Future Motion, Inc.
v. Tony Lai d/b/a Floatwheel, Case No. 3:23-cv-01742-AR pending in the United States District
Court for the District of Oregon. I draw your attention to highlighted paragraphs 2 and 3 at pages
6-7, which require Google LLC to take the following actions:

      x    Promptly disable the entire YouTube channel at www.youtube.com/floatwheel
      x    Promptly disable the email address tonyfloatwheel@gmail.com

The order further requires Google to provide notice of compliance to Future Motion’s counsel
within five (5) business days of receipt of the order. You may provide the required notice by email
to me at shawn@krdglaw.com.

Thank you for your cooperation in this matter, and please contact me or have counsel for Google
LLC contact me with any questions.

Sincerely,




Shawn Kolitch
Counsel for Future Motion, Inc.
shawn@krdglaw.com
503-994-1650


Kolitch Romano Dascenzo Gates LLC                                  Intellectual Property Attorneys

                                    Kolitch Decl. Ex. A, Page 3
      Case 3:23-cv-01742-AR            Document 33-2          Filed 10/17/24       Page 5 of 12


                                                                     621 SW Morrison St., Ste. 1100
                                                                     Portland, OR 97205
                                                                     1.503.224.7529 | krdglaw.com




July 30, 2024

Via Federal Express

Google LLC, dba YouTube
c/o Corporation Service Company
1127 Broadway St NE, Suite 310
Salem, OR 97301

Re:     Court Order in District of Oregon Case No. 3:23-cv-01742-AR

To Whom It May Concern:

Attached is a court order dated June 20, 2024 in the matter of Future Motion, Inc. v. Tony Lai
d/b/a Floatwheel, Case No. 3:23-cv-01742-AR pending in the United States District Court for the
District of Oregon. Paragraph 2 at page 6 requires your company to disable the entire YouTube
channel at www.youtube.com/floatwheel.

I previously served a copy of this order on June 20, 2024. I received an email message from the
YouTube Legal Support Team dated June 27, 2024, stating that the issue was under review.
However, the Floatwheel channel on YouTube remains active more than a month later, currently
hosting one video Short and a large amount of Community content, all of which pertains to the
Floatwheel Adv and Floatwheel Adv Pro products. This explicitly violates the attached court order.

Please immediately disable the entire channel www.youtube.com/floatwheel. The result
should be that neither the channel itself nor any of its content remains publicly accessible.

If the channel www.youtube.com/floatwheel remains accessible more than five business days
from service of this letter, which will be at least six weeks since initial service of the attached court
order, you should expect my client to file a motion to compel in Oregon federal district court.

Sincerely,




Shawn Kolitch
Counsel for Future Motion, Inc.
shawn@krdglaw.com
503-994-1650




Kolitch Romano Dascenzo Gates LLC                                       Intellectual Property Attorneys

                                     Kolitch Decl. Ex. A, Page 4
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                                                                  621 SW Morrison St., Ste. 1100
                                                                  Portland, OR 97205
                                                                  1.503.224.7529 | krdglaw.com



October 2, 2024

Via Federal Express

Google LLC, dba YouTube
c/o Corporation Service Company
1127 Broadway St NE, Suite 310
Salem, OR 97301

Re:    Court Order in District of Oregon Case No. 3:23-cv-01742-AR

To Whom It May Concern:

My firm represents Future Motion, Inc. Attached is a court order dated June 20, 2024 in the matter
of Future Motion, Inc. v. Tony Lai d/b/a Floatwheel, Case No. 3:23-cv-01742-AR pending in the
United States District Court for the District of Oregon. Paragraph 2 at page 6 requires your
company to disable the entire YouTube channel at www.youtube.com/floatwheel. I previously
served copies of this order on your company on June 20, 2024 and again on July 30, 2024.

I received an email message from the YouTube Legal Support Team dated August 2, 2024,
stating that “the content in question has been blocked from view on the country domain.” This
response is not sufficient for two reasons. First, you have not complied with the attached court
order, which states that “Google LLC, doing business as YouTube, shall promptly upon receipt of
a copy of this Order remove or disable Defendant’s entire ‘Floatwheel’ YouTube channel at
www.youtube.com/floatwheel, along with any other YouTube channel Defendant operates now
or in the future that publishes videos and/or information about the Floatwheel Adv and/or
Floatwheel Adv Pro products” (emphasis added). This has clearly not been done.

Second and more importantly, you have simply blocked access to the Floatwheel YouTube
channel from U.S. IP addresses. This leaves the entire channel accessible to anyone within the
United States that uses a VPN to provide an IP address outside the United States. It is trivially
easy to set up a VPN at zero cost, and attached to this letter are exemplary screen shots I
personally obtained in this manner today, demonstrating access to the Floatwheel YouTube
channel from my office in Portland, Oregon. Accordingly, your action has not blocked access to
the disputed channel by U.S. residents. This is precisely why the court order requires disabling
the entire YouTube channel without any qualifications regarding the origin of the IP address
seeking access.

As of today, the Floatwheel channel on YouTube remains active and easily accessible, including
to U.S. consumers and residents, more than three months after your company first received the
attached federal district court order. This represents explicit and long-term violation of the court
order, and is continuing to cause significant damage to Future Motion. Accordingly, while my
client has no desire to engage in a dispute with Google LLC, we are prepared to bring a motion
for contempt if you do not act promptly and effectively to comply with the attached order. If this
becomes necessary, I believe we will be awarded our attorney’s fees incurred for enforcing the
order.



Kolitch Romano Dascenzo Gates LLC                                   Intellectual Property Attorneys

                                   Kolitch Decl. Ex. A, Page 5
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Google LLC
October 2, 2024
KRDG File – KJD609

Please immediately remove or disable the entire channel www.youtube.com/floatwheel.
The result should be that neither the channel itself nor any of its content remains publicly
accessible to anyone, from any IP address. I do not know any way to clarify this demand
further.

If the channel www.youtube.com/floatwheel remains accessible from any IP address more than
five business days from service of this letter, which will be almost four months since initial service
of the attached court order, we will file a motion for contempt in Oregon federal district court.

If you would like to discuss this matter before it escalates, please contact me and I will be happy
to do so.

Sincerely,




Shawn Kolitch
Counsel for Future Motion, Inc.
shawn@krdglaw.com
503-994-1650




Kolitch Romano Dascenzo Gates LLC              2 of 2                 Intellectual Property Attorneys

                                    Kolitch Decl. Ex. A, Page 6
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                                                                                       Shawn Kolitch <kolitch@gmail.com>



Re: Legal Complaint Received
1 message

                                                                                                          Wed, Jan 17, 2024 at
YouTube Legal Support Team <other-legal+132qm48yov1720m@support.youtube.com>
                                                                                                                      2:55 PM
Reply-To: YouTube Legal Support Team <other-legal+132qm48yov1720m@support.youtube.com>
To: kolitch@gmail.com


 Hello,

 We reviewed your legal complaint and restricted the content in question.

 For more information about our removal processes, please check out this educational video.

 Regards,

 The YouTube Legal Support Team

 On January 2, 2024 kolitch@gmail.com wrote:

   Attached is a copy of a Court order issued December 29, 2023 by the U.S. federal district court for the District of
   Oregon. I draw your attention to Paragraph 6, which requires Google/YouTube to disable the channel
   https://www.youtube.com/floatwheel, or alternatively to disable 48 individual videos listed after Paragraph 6. I also draw
   your attention to Paragraph 8, which explicitly states that Google/YouTube shall be subject to sanctions for contempt of
   court if it fails to comply promptly with the order. Please be advised that due to Google's consistent failure to act on
   previous court orders in this and other related federal district court actions, I will move the Court for sanctions if your
   company fails to act promptly in response to this message and the attached court order.

   If your legal department has any questions, you may contact me using the following information:

   __________________________________________
   Shawn Kolitch, PhD | Founding Partner

   kolitch romano
   dascenzo gates
   Intellectual Property Attorneys
   Mail: 621 SW Morrison Street #1100 | Portland, OR 97205 USA
   Email: shawn@krdglaw.com
   Phone: 1.503.224.7529 | krdglaw.com

   On Tue, Jan 2, 2024 at 9:19 AM YouTube Legal Support Team <other-legal+132qm48yov1720m@
   support.youtube.com> wrote:

     Hello,

     Thanks for contacting the YouTube Legal Support team. We will review your request as soon as possible. The
     reference number for your complaint is YAROYBVAKBMM2QGPIJS7S4ATJ4.



     Regards,

     The YouTube Legal Support Team




                                               Kolitch Decl. Ex. A, Page 7
              Case 3:23-cv-01742-AR             Document 33-2           Filed 10/17/24         Page 9 of 12


                                                                                      Shawn Kolitch <kolitch@gmail.com>



Re:
1 message

                                                                                                          Wed, Mar 6, 2024 at
YouTube Legal Support Team <trademark+0tojuzz6c91ik0c@support.youtube.com>
                                                                                                                   10:34 AM
Reply-To: YouTube Legal Support Team <trademark+0tojuzz6c91ik0c@support.youtube.com>
To: kolitch@gmail.com


 Hello,

 Upon further investigation, we found that the content in question has already been blocked from view on the country
 domain. Please note that we did not block the content as a result of this legal removal request.

 Regards,

 The YouTube Legal Support Team

 On December 18, 2023 kolitch@gmail.com wrote:

   Please confirm receipt of the Court's order. I note that this is a TRO and the timing is urgent, as the Court clearly
   agreed. Please comply with the terms of the order. It should not take 72 hours to remove access to
   www.youtube.com/floatwheel. Thank you. If your legal team has any questions despite the very clear order, please
   contact me immediately. I can be reached by return email or at any of the contact information below.

   __________________________________________
   Shawn Kolitch, PhD | Founding Partner

   kolitch romano
   dascenzo gates
   Intellectual Property Attorneys
   Mail: 621 SW Morrison Street #1100 | Portland, OR 97205 USA
   Email: shawn@krdglaw.com
   Phone: 1.503.224.7529 | krdglaw.com


   On Sun, Dec 17, 2023 at 9:22 AM Shawn Kolitch <kolitch@gmail.com> wrote:
    Attached is a copy of the Court's order in Case No. 3:23-cv01742-AR in the United States District Court for the
      District of Oregon, Future MoƟon, Inc. v. Tony Lai d/b/a Floatwheel. The highlighted porƟon at Page 7 of the
      order states that YouTube “must promptly upon receipt of a copy of this Order disable public access to all
      instrucƟonal videos teaching viewers how to make and/or use a product that infringes Future MoƟon’s patents,
      including but not limited to the following videos currently hosted at the YouTube channel
      hƩps://www.youtube.com/floatwheel . . .” Pages 7-10 of the order include a list of 43 videos, including their Ɵtles
      and URLs, that must be disabled.

      Please comply with the aƩached order and promptly disable the 43 videos listed in the aƩached order and
      hosted at https://www.youtube.com/floatwheel. The order further states that YouTube must provide noƟce of
      compliance with the order to Future MoƟon’s counsel within five (5) business days of receipt of the order. You
      may provide such noƟce of compliance by return email to me. Be aware that if YouTube refuses to comply with
      this order, my client has instructed me to bring a moƟon for contempt.

      If you have any quesƟons, I can be contacted by return email or at the phone number in my electronic signature
      below.


                                              Kolitch Decl. Ex. A, Page 8
       Case 3:23-cv-01742-AR               Document 33-2           Filed 10/17/24         Page 10 of 12
Sincerely,

Shawn Kolitch
Counsel for Future MoƟon, Inc.

__________________________________________
Shawn Kolitch, PhD | Founding Partner

kolitch romano
dascenzo gates
Intellectual Property Attorneys
Mail: 621 SW Morrison Street #1100 | Portland, OR 97205 USA
Email: shawn@krdglaw.com
Phone: 1.503.224.7529 | krdglaw.com

On Sun, Dec 17, 2023 at 5:40 AM YouTube Legal Support Team <trademark+0tojuzz6c91ik0c@
support.youtube.com> wrote:

  Hello,

  In order to further consider your claim, we would be grateful if you could attach a copy of the court order, or other
  official legal document to which you refer, in your email below.

  Please note, until we receive relevant documentation, we will not be taking any further action in relation to this
  claim.

  Regards,

  The YouTube Legal Support Team

  On December 17, 2023 Contact Us Form wrote:

    Country: US
    Fulllegalname: Shawn Jason Kolitch
    behalf: client
    client: Future Motion, Inc.
    email_prefill: kolitch@gmail.com
    cite_law: Patent Infringement, 35 USC 271
    hyperlink: https://www.law.cornell.edu/uscode/text/35/271
    content_issue: video
    video_url: https://www.youtube.com/watch?v=1ZhOdkb2qyk
    content: Inducing patent infringement, as described in forthcoming Court
    Order the I will provide by email response. The URL above is just one
    example.
    affirmation_one: I declare that the information in this notice is true and
    complete.
    Signature: Shawn Jason Kolitch




                                          Kolitch Decl. Ex. A, Page 9
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                                                                                        Shawn Kolitch <kolitch@gmail.com>



Re: Legal Complaint Received
1 message

                                                                                                            Fri, May 20, 2022 at
YouTube Legal Support Team <other-legal+31zvrp82rt8el0m@support.youtube.com>
                                                                                                                        1:22 PM
Reply-To: YouTube Legal Support Team <other-legal+31zvrp82rt8el0m@support.youtube.com>
To: kolitch@gmail.com


 Hello,

 We've reviewed your request and we're unable to take action on the basis of the order you've provided. The court order is
 too vague, temporally limited, and/or does not specifically apply to content that is hosted on YouTube.com.

 Please note that we may be prepared to comply with any permanent order that requires the content creator to remove
 specific YouTube URLs. In cases where the author is anonymous, we can provide you with user information, pursuant to
 a valid third-party subpoena or other appropriate legal process against Google LLC.

 Regards,

 The YouTube Legal Support Team

 On May 19, 2022 kolitch@gmail.com wrote:

   Hello,

   It appears you may not have read the court order I provided carefully enough. The order permanently enjoins the
   defendant from posting videos illustrating the function of the Floatwheel products, specifically including "all such videos
   posted on defendant's Floatwheel YouTube channel." This could hardly be more specific, and these are precisely the
   videos that are the subject of my takedown requests. The last paragraph of the order requires cooperation in the form
   of disabling service to the defendant by "online video hosting platforms," which obviously includes YouTube. The order
   is not vague or temporally limited, and it specifically cites the Floatwheel YouTube videos.

   Please review the order again and disable the videos on the defendant's Floatwheel YouTube channel. If YouTube fails
   to comply with the order, my client will have no choice but to consider bringing a motion for contempt in federal district
   court.

   If YouTube's legal counsel wishes to discuss this matter with me, my contact information is below and I would be happy
   to schedule a call with someone.

   Regards,

   __________________________________________
   Shawn Kolitch, Ph.D | Partner

   kolitch romano
   Intellectual Property Attorneys
   520 SW Yamhill St. #200 | Portland, OR 97204 USA
   Email: shawn@kolitchromano.com
   Phone: 1.503.994.1650 | kolitchromano.com



   On Thu, May 19, 2022 at 9:11 AM YouTube Legal Support Team <other-legal+31zvrp82rt8el0m@support.youtube.com>
   wrote:

     Hello,

                                              Kolitch Decl. Ex. A, Page 10
       Case 3:23-cv-01742-AR               Document 33-2           Filed 10/17/24         Page 12 of 12
We've reviewed your request and we're unable to take action on the basis of the order you've provided. The court
order is too vague, temporally limited, and/or does not specifically apply to content that is hosted on YouTube.com.

Please note that we may be prepared to comply with any permanent order that requires the content creator to
remove specific YouTube URLs. In cases where the author is anonymous, we can provide you with user information,
pursuant to a valid third-party subpoena or other appropriate legal process against Google LLC.

Regards,

The YouTube Legal Support Team

On May 18, 2022 kolitch@gmail.com wrote:

  Relevant to this complaint, please see the attached court order, especially sections 1(a)(ii) and 1(b), which relate to
  the defendant's videos.

  On Wed, May 18, 2022 at 11:59 AM YouTube Legal Support Team <other-legal+31zvrp82rt8el0m@
  support.youtube.com> wrote:

    Hello,

    Thanks for contacting the YouTube Legal Support team. We will review your request as soon as possible. The
    reference number for your complaint is 7EOUYFXUZYXN36XOF3T6PP26UI.



    Regards,

    The YouTube Legal Support Team




                                         Kolitch Decl. Ex. A, Page 11
